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   8                         UNITED STATES DISTRICT COURT
   9                       SOUTHERN DISTRICT OF CALIFORNIA
  10   UNITED STATES OF AMERICA,                         Case No. 12cr4710-WQH
  11                       Plaintiff,                    AMENDED ORDER OF
                                                         CRIMINAL FORFEITURE
  12          v.
  13   DANIEL MALAQUIAS-MENDOZA (1),
  14                       Defendant.
  15
  16         On April 15, 2014, this Court entered its Preliminary Order of Criminal
  17 Forfeiture, which condemned and forfeited to the United States all right, title and
  18 interest of DANIEL MALAQUIAS-MENDOZA (1) in the property listed in the Bill
  19 of Particulars and Plea Agreement, namely,
  20         $125,643.00 of the $175,643.00 in U.S. Currency that was seized from
             Defendant DANIEL MALAQUIAS-MENDOZA (1). The United States
  21         agreed to return $50,000.00 to the Defendant.
  22         For thirty (30) consecutive days ending on May 18, 2014, the United States
  23 published on its forfeiture website, www.forfeiture.gov, notice of the Court's Order
  24 and the United States' intent to dispose of the property in such manner as the
  25 Attorney General may direct, pursuant to 21 U.S.C. § 853(n) and Rule G(4) of the
  26 Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions,
  27 and further notifying all third parties of their right to petition the Court within thirty
  28 II
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   1 (30) days of the final publication for a hearing to adjudicate the validity of their
   2 alleged legal interest in the property.
   3         On May 30,2014, Notice of Order of Forfeiture was sent by certified mail as
   4   follows:
   5 Name and Address                           Article No.              Result
   6 Alfredo Martinez-Villasenor (2)            701310900001 12534618    Signed for as received
     c/o Frederic J. Warner                                              on 6/3114.
   7 Attorn\V at Law
     11755 ilshire Blvd., Ste. 1500
   8 Los Angeles, CA 90025
   9 Francisco Villasenor-Ortiz (3)             7013 10900001 12534625   Signed for as received
     c/o Michael R. McDonnell                                            on 6/4114.
  10 Attorney at Law
     418 East La Habra Boulevard
  11 La Habra CA 90631-5525
  12   Mi~el Mendoza-Mendoza (4)                7013 10900001 12534632   Signed for as received
     c/o evin R. Riva                                                    on or about 6/4/14.
  13 Attorni1 at Law
     3055 ilshire Blvd Suite 900
  14 Los Angeles CA 90 O10
  15 John Phili1NLombardo (5)                   7013 10900001 12534649   Signed for as received
     c/o Elliott . Kanter                                                on or about 6/2114.
  16 Attorney at Law
     2445 Fifth Avenue, Suite 350
  17 San Diego CA 92101
  18 Roberto Valencia-Martinez (6)              7013 10900001 12534656   Signed for as received
     c/o Adam M. Ruben                                                   on 6/2114.
  19 Attorney at Law
     934 23rd Street
  20 San Diego CA 92102
  21 Luz M. Mendoza                             7013 10900001 12534663   Signed for as received
     27210 Citrus Avenue                                                 on 6/2114.
  22 Perris CA 92571-7441
  23
  24         Thirty (30) days have passed following the final date of notice by publication
  25   and notice by certified mail, and no third party has made a claim to or declared any
  26   interest in the forfeited property described above.
  27         Accordingly, IT IS HEREBY ORDERED, ADJUDGED AND DECREED
  28 that, as a result of the failure of any third party to come forward or file a petition for
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,   ", Case 3:12-cr-04710-WQH    Document 285     Filed 07/21/14    PageID.1215     Page 3 of 3




         1 relief from forfeiture as provided by law, all right, title and interest of DANIEL
         2 MALAQUIAS-MENDOZA (1) and any and all third parties in the following
         3 property are hereby condemned, forfeited and vested in the United States of
         4 America:
         5                             $125,643.00 in U.S. Cmrency.
         6         IT IS FURTHER ORDERED that any and all interest of the following persons
         7 and entities are specifically terminated and forfeited to the United States of America
         8 as to the above-referenced property:
         9         Alfredo Martinez-Villasenor (2)            John Philip Lombardo (5)
                   Francisco Villasenor-Ortiz (3)             Roberto Valencia-Martmez (6)
        10         Miguel Mendoza-Mendoza (4)                 Luz M. Mendoza;
       11          IT IS FURTHER ORDERED that costs incurred by the United States
       12 Marshals Service, the Drug Enforcement Administration and any other governmental
        13   agencies which were incident to the seizme, custody and storage of the property be
        14 the first charge against the forfeited property.
       15          IT IS FURTHER ORDERED that the United States Marshals Service shall
       16 dispose ofthe forfeited property according to law.



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        17         DATED:
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       19                                           United States District Court
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